                                  UNITED STATES BANKRUPTCY COURT
                                           District of Oregon

 In re                                                    )   Hearing Judge: Teresa H Pearson
  Annika Ursula Eriksson                                  )   Case No. 22-31175-thp13
                                                          )   CHAPTER 13 CONFIRMATION
 Debtor(s)                                                )   WORKSHEET

        Attorney: Pro Se                                          Trustee Representative: Wayne Godare

        Present: (x) Debtor () Jt. Debtor () Attorney         Conf. Hrg. Date/Time:   09/08/2022 9:00 AM


Trustee Objection(s)
       Resolved and recommends confirmation.
       Plan payments have not been received.
       Plan payments are not current.
  x    Other:    Trustee has not completed the 341(a) meeting of creditors yet.

Creditor Objections(s)
       IRS                 ODR             Creditor(s):   Deutsche Bank Trust Company Americas

Plan Confirmed
       Order has been lodged.
       Order to be lodged after hearing.

Plan Denied
       Debtor wants to file an amended plan.
       Other reason:
       # of days or by            file an amended plan. (1355.05)
       Adjourned hearing date given in
       court

Other Orders
      Order to file tax
      returns                         IRS             ODR             Other:
       Returns due within             days.
      Service Order.           Fee reduction.            Send letter.
       10-day order requiring presentation of proposed confirmation order.

Adjourned Hearing
  x   Adjourned confirmation hearing to be held on       10/6/2022 at 1:30 p.m.
      Evidentiary confirmation hearing to be held on
  x   via Telephone            by Video                    in Courtroom #
      Trustee motion to dismiss continued.
  x   Noticed in court.          Notice to be sent to interested parties.

Notes: Hearing adjourned to allow for completion of the 341(a) meeting of creditors. Debtor trying to find an
attorney to represent and assist her.




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